                 Case 21-11238-CTG               Doc 269        Filed 02/28/22        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                          Chapter 11

 AGSPRING MISSISSIPPI REGION, LLC,                               Case No. 21-11238 (CTG)
 et al.,1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Re: Docket No. 243

       CERTIFICATION OF NO OBJECTION REGARDING SECOND MONTHLY
           APPLICATION FOR COMPENSATION AND REIMBURSEMENT
            OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
        AS CO-COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Second Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-

Counsel for the Debtors and Debtors in Possession for the Period from October 1, 2021 through

October 31, 2021 (the “Application”) [Docket No. 243] filed on February 3, 2022. The

undersigned further certifies that the Court’s docket in this case has been reviewed and no

answer, objection or other responsive pleading to the Application appears thereon. Pursuant to

the notice of Application, objections to the Application were to be filed and served no later than

February 24, 2022 at 4:00 p.m. prevailing Eastern Time.

                  Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals and (II) Granting Related Relief [Docket No. 112]

entered on October 15, 2021, the Debtors are authorized to pay Pachulski Stang Ziehl & Jones


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake
Providence Grain and Rice LLC (1986); and Bayou Grain & Chemical Corporation (7831). The Debtors’ mailing
address is 5101 College Boulevard, Leawood, KS 66211.



DOCS_DE:238478.1 01213/001
                Case 21-11238-CTG       Doc 269      Filed 02/28/22   Page 2 of 2




LLP $141,740.00 which represents 80% of the fees ($177,175.00) and $14,539.91 which

represents 100% of the expenses requested in the Application, for the period from October 1,

2021 through October 31, 2021, upon the filing of this Certification and without the need for

entry of a Court order approving the Application.

Dated: February 28, 2022                     PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Mary F. Caloway
                                             Laura Davis Jones (DE Bar No. 2436)
                                             Timothy P. Cairns (Bar No. 4228)
                                             Mary F. Caloway (DE Bar No. 3059)
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                                             -and-

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                                             -and-

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                                             Counsel for Debtors and Debtors in Possession


                                                2
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